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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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  11 GIGANEWS, INC. a Texas                   Case No. CV 17-05075-AB (JPRx)
     corporation; and LIVEWIRE
  12 SERVICES, INC., a Nevada                 FINAL PRE-TRIAL CONFERENCE
     corporation                              ORDER
  13
                  Plaintiffs,                    Pretrial Conf.:   March 1, 2019
  14                                             Time:             11:00 a.m.
             v.                                  Courtroom:        7B
  15                                             Trial Date:       March 26, 2019
                                                 Trial Time:       8:30am
  16 PERFECT 10, INC., a California              Judge:            Hon. André Birotte, Jr.
     corporation; NORMAN ZADA, an
  17 individual; and DOES 1-50, inclusive,
                                              SEE CHANGES – TRIAL DURATION
  18              Defendants.
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    1        Following pre-trial proceedings, pursuant to Federal Rule of Civil Procedure
    2 16 and Local Rule 16, IT IS ORDERED:
    3 1.     THE PARTIES AND PLEADINGS
    4        The parties to this matter are Plaintiffs Giganews, Inc. and Livewire Services,
    5 Inc. (“Plaintiffs”) and Defendants Norman Zada and Perfect 10, Inc. (“Defendants”).
    6 Both Defendants have been served and have appeared. Plaintiffs’ First Amended
    7 Complaint (Dkt. 26) and Defendants’ Answer (Dkt. 27) are the operative pleadings.
    8 2.     JURISDICTION
    9        It is stipulated that subject matter jurisdiction over this action exists under
  10 28 U.S.C. § 1332, and venue is proper in this District and this Division pursuant to
  11 28 U.S.C. § 1391(b)(1).
  12 3.      TRIAL DURATION
  13         The parties estimate that the trial will take ten days. Trial is set for March 26,
  14 2019, at 8:30 a.m.
  15         Each side will have 10 hours to present evidence, including direct and cross
  16 examination of any witnesses. Each side will have 20 minutes for opening statements
  17 and 30 minutes for closing argument, and Plaintiff shall have 10 minutes for rebuttal.
  18 4.      JURY TRIAL
  19         The trial is to be a jury.
  20         Plaintiffs and Defendants shall serve and file “Joint Proposed Jury
  21 Instructions” and “Joint Proposed Verdict Forms” as well as any disputed jury
  22 instructions by no later than February 8, 2019.
  23 5.      ADMITTED FACTS
  24         The following facts are admitted and require no proof:
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    1        •     Perfect 10 transferred the following amounts from Perfect 10’s bank
    2              account to Norman Zada’s bank account:
    3              o      $200,000 on January 13, 2014;
    4              o      $50,000 on March 10, 2014;
    5              o      $100,000 on March 19, 2014;
    6              o      $100,000 on May 14, 2014;
    7              o      $100,000 on May 28, 2014;
    8              o      $150,000 on July 8, 2014;
    9              o      $100,000 on September 4, 2014;
  10               o      $100,000 on October 7, 2014;
  11               o      $850,000 on November 20, 2014; and
  12               o      $454,002.05 on May 13, 2015.
  13 6.      STIPULATED FACTS
  14         The following facts, though stipulated, shall be without prejudice to any
  15 evidentiary objection:
  16         •     Perfect 10 filed a First Amended Complaint (“FAC”) in the Related
  17               Case on March 26, 2013.
  18         •     Perfect 10’s FAC ¶ 26, alleged that Giganews “stores on its own
  19               servers, and makes available movies, songs, images, computer software,
  20               and other materials for 1,677 days, its ‘retention period.’”
  21         •     Perfect 10’s FAC ¶ 34 alleged that Giganews infringed Perfect 10
  22               copyrighted works by reproduction in at least four different ways.
  23         •     Perfect 10’s FAC ¶ 66, alleges that all Perfect 10 images copied and
  24               distributed by Giganews and Livewire were done so without Perfect
  25               10’s permission.
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    1        •    On March 8, 2013, the Court dismissed Perfect 10’s claims against
    2             Giganews and Livewire for (1) direct copyright infringement, (2) direct,
    3             contributory, and vicarious trademark infringement, (3) trademark
    4             dilution, (4) violation of California’s Unfair Competition Law, and (5)
    5             violation of the right of publicity with leave to amend, but allowed
    6             Perfect 10’s claims for contributory and vicarious liability to move
    7             forward. [Related Dkt. 97]
    8        •    On July 10, 2013, the Court dismissed Perfect 10’s claims for
    9             contributory and vicarious infringement against Livewire without leave
  10              to amend, but added back in certain direct infringement claims against
  11              Giganews and Livewire, so Perfect 10’s case was allowed to proceed on
  12              its claims for contributory, vicarious, and certain direct liability claims
  13              against Giganews, and for certain direct liability claims against
  14              Livewire. [Related Dkt. 129]
  15         •    On January 29, 2014, the Court denied Perfect 10’s early motion for
  16              summary judgment on the issue of DMCA compliance as to Perfect
  17              10’s notices of infringement. The Court held that Perfect 10 had not
  18              established that its notices complied with section 512(c)(3)(A) of the
  19              Act. [Related Dkt. 180]
  20         •    On February 13, 2014, the Court compelled Giganews to answer
  21              interrogatories and produce documents as described in its order [Related
  22              Case Dkt. 205]
  23         •    On February 26, 2014, the Court compelled Giganews to answer
  24              interrogatories and produce documents as described in its order [Related
  25              Dkt. 216]
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    1        •     On March 17, 2014, the Court compelled Perfect 10 to answer
    2             interrogatories and produce documents as described in its order
    3             [Related Dkt. 223]
    4        •    On April 24, 2014, the Court compelled Perfect to 10 to answer
    5             interrogatories and produce documents as described in its order.
    6             [Related Dkt. 254]
    7        •    On May 21, 2014, Perfect 10 filed a motion for sanctions against
    8             Giganews. [Related Dkt. 293].
    9        •    On June 2, 2014, the Court entered an Order denying Perfect 10’s
  10              motion for discovery sanctions. [Related Dkt. 295]
  11         •    On June 5, 2014, the Court compelled Perfect to 10 to answer
  12              interrogatories and produce documents as described in its order.
  13              [Related Dkt. 311]
  14         •    On June 5, 2014, the Court compelled discovery from third-party
  15              witnesses. [Related Dkt. 312]
  16         •    On June 23, 2014, the Court compelled interrogatory responses from
  17              Perfect 10 as described in its order. [Related Dkt. 326]
  18         •    On August 18, 2014, Giganews filed a motion seeking sanctions against
  19              Perfect 10. [Related Dkts. 355 & 356]
  20         •    On November 14, 2014, the Court issued two orders granting summary
  21              judgment in favor of Giganews and Livewire on the issues of direct and
  22              indirect copyright infringement, respectively. [Related Dkts. 619 &
  23              620.] In those orders, the Court held that:
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    1             o       “[Perfect 10] failed to show that [Giganews or Livewire] ‘himself
    2                     uploaded or downloaded the files, or directly caused such
    3                     uploading or downloading to occur . . .’” Id.
    4             o       “After considerable discovery [the Court found] no evidence to
    5                     bear out” Perfect 10’s allegations of direct infringement. Id.
    6             o       “[T]here is no evidence that Giganews received a direct financial
    7                     benefit from third-party infringement of Perfect 10’s copyrights
    8                     to support a claim for vicarious liability. Additionally, the record
    9                     is devoid of any evidence that Giganews had the necessary
  10                      knowledge of specific third-party infringements to support a
  11                      claim for contributory infringement.” [Related Dkt. 620]
  12         •    On November 26, 2014, the Court entered final judgment in Giganews
  13              and Livewire’s favor and against Perfect 10. [Related Dkt. 628]
  14         •    On December 1, 2014, Perfect 10 filed a motion for reconsideration of
  15              the Court’s order regarding no indirect infringement. [Related Dkt.
  16              627].
  17         •    On February 4, 2015, the Court entered “further interim findings” on the
  18              motion for sanctions. [Related Dkt. 676]
  19         •    On March 3, 2015, the Court denied Perfect 10’s motion for
  20              reconsideration. [Related Dkt. 682].
  21         •    On March 24, 2015, the Court awarded attorneys’ fees and nontaxable
  22              costs in Giganews and Livewire’s favor and against Perfect 10 in the
  23              amount of $5,637,352.53. [Related Dkt. 684].
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    1              • On or about April 4, 2015, Perfect 10 and Dr. Zada made an offer to
    2                 satisfy the judgment which included $2 million in cash plus a first trust
    3                 deed on Dr. Zada’s home of $3.819 million.
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    7 7.     PARTIES’ CLAIMS AND DEFENSES
    8 Plaintiffs’ Claims:
    9        (a)      Plaintiffs plan to pursue the following claims against Defendant:
  10         Claim 1:       Violation of Uniform Fraudulent Transfer Act for Actual
  11 Fraudulent Transfer Pursuant to California Civil Code § 3439.04(a)(1);
  12         Claim 2:       Violation of Uniform Fraudulent Transfer Act for Constructive
  13 Fraudulent Transfer Pursuant to California Civil Code § 3439.04(a)(2)(B);
  14         Claim 3:       Fraudulent Conveyance of Personal Property Without Delivery in
  15 Violation of California Civil Code § 3440.
  16         Attorneys’ Fees and Costs:         Plaintiffs currently intend to seek their
  17 reasonable attorneys’ fees against all Defendants jointly and severally.
  18         Punitive Damages:           Plaintiffs seek punitive and exemplary damages from
  19 all Defendants jointly and severally in the amount of $20,000,000, or in such other
  20 amount that the Court determines to bear a reasonable relationship to Plaintiffs’
  21 actual damages and does not otherwise violate the requirements of due process.
  22         (b)      The elements required to establish Plaintiffs’ claims are:
  23         Claim 1 (Actual Fraudulent Transfer):           (1) That Giganews and Livewire
  24 have a right to payment from Perfect 10 for the amount of the underlying judgment;
  25 (2) that Defendants caused Perfect 10 to transfer funds or property to Norman Zada;
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    1 (3) that Defendants transferred the funds or property with the intent to hinder, delay,
    2 or defraud one or more of Perfect 10’s creditors; (4) that Giganews and Livewire
    3 were harmed; and (5) that Defendants’ conduct was a substantial factor in causing
    4 Giganews and Livewire’s harm.1
    5         Claim 2 (Constructive Fraudulent Transfer):            (1) That Giganews and
    6 Livewire have a right to payment from Perfect 10; (2) that Defendants caused Perfect
    7 10 to transfer funds or property to Norman Zada; (3) that Perfect 10 did not receive a
    8 reasonably equivalent value in exchange for the transfer; (4) that Perfect 10 intended
    9 to incur debts beyond its ability to pay as they became due or that Perfect 10
  10 believed or reasonably should have believed that it would incur debts beyond its
  11 ability to pay as they became due; (5) that Giganews and Livewire were harmed; and
  12 (6) that Defendants’ conduct was a substantial factor in causing Giganews and
  13 Livewire’s harm.2
  14          The parties dispute whether Plaintiffs may alternatively prove element (4),
  15 above, by showing: that Perfect 10 was in business or about to enter a transaction
  16 when its remaining assets were unreasonably small for the business or transaction.
  17 See Cal. Civ. Code § 3439.04(a)(2)(A). They have set forth their respective
  18 positions in their briefing regarding disputed jury instructions.
  19
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  21    1
          The parties note that, notwithstanding the description of the elements of the claims
        here, the jury instructions and special verdict form should account for the facts that
  22    multiple transfers are at issue, and that Plaintiffs assert their claims against multiple
        Defendants. The parties have submitted competing proposals on these topics.
  23    2
          The parties note that, notwithstanding the description of the elements of the claims
  24    here, the jury instructions and special verdict form should account for the facts that
        multiple transfers are at issue, and that Plaintiffs assert their claims against multiple
  25    Defendants. The parties have submitted competing proposals on these topics.
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 1        Claim 3 (Conveyance Without Delivery: (1) Defendants caused Perfect 10
 2 transfer personal property to Norman Zada; (2) at the time of the transfer, Perfect 10
 3 had possession of the property; and (3) The transfer was not accompanied by an
 4 immediate delivery to Norman Zada, followed by an actual and continued change of
 5 possession of the property.
 6        The parties dispute whether Plaintiffs must additionally prove the following
 7 elements: (4) That Norman Zada was not a buyer of the personal property in good
 8 faith; and (5) That Norman Zada did not buy the personal property for reasonably
 9 equivalent value. They have set forth their respective positions in their briefing
10 regarding disputed jury instructions.
11         (c)   The Key Evidence Plaintiffs Rely on for Each Claim
12        Claim 1 (Actual Fraudulent Transfer):
13        •      Norman Zada is the President and CEO of Perfect 10. Perfect 10 is a
14               litigation business.
15        •      When Perfect 10 received settlement proceeds from litigation targets,
16               Mr. Zada typically took the money out of the company within two
17               months, even if Perfect 10 also anticipated significant expenses. When
18               Perfect 10’s bank balance decreased beyond its ability to pay, Zada
19               would make equity contributions back to the company from his personal
20               accounts to cover them.
21        •      Perfect 10 sued Giganews and Livewire in 2011. Over the course of
22               that case, Perfect 10 lost (or mostly lost) two motions to dismiss, an
23               early summary judgment motion, a motion for sanctions, four motions
24               to compel, lost or had mooted seven motions for summary judgment,
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1              the Court issued discovery sanctions and attorneys’ fees issued against
2              it, and lost a motion for reconsideration.
3         •    Between January 2014 and May 2015, Zada made ten separate transfers
4              of money, totaling $2,204,002, from Perfect 10 to himself.
5         •    Those transfers included an $850,000 transfer just six days after the
6              Court granted summary judgment on November 14, 2014. Zada
7              confessed that he made this transfer due to the “summary judgment
8              orders” because, after those “orders were issued, I did not see any point
9              in keeping more cash than we needed in the account.”
10        •    Also on November 14, 2014, Mr. Zada sought a $3.5 million mortgage
11             on the Norfield Court mansion that serves as both his residence and
12             Perfect 10’s offices.
13        •    On December 8 and 9, 2014, with the sanctions issue pending and
14             Giganews’s motion for attorney’s fees imminent, Melanie Poblete
15             drafted a series of backdated “demand notes” that falsely portrayed
16             those investments as “loans.”
17        •    Those notes contradicted Perfect 10’s tax returns, which Zada signed
18             under penalty of perjury. For many years the tax returns had
19             consistently identified Zada’s financial contributions to the company as
20             equity investments, not interest-bearing loans as the notes suggest.
21             Perfect 10’s financials reflect no interest expense. The metadata in the
22             electronic files reveals that Poblete created them, and Zada admitted
23             that “we” created them.
24        •    On February 4, 2015, the Court entered a 55-page order of “further
25             interim findings” on the motion for sanctions. It stated: “Defendants
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1              have presented this Court with extensive evidence showing unjustified
2              discovery noncompliance, numerous violations of this Court’s orders,
3              and pervasive failures by Perfect 10, its attorneys, and the Perfect 10-
4              affiliated witnesses.
5         •    That month, Zada renewed his inquiry regarding a substantial mortgage
6              on Norfield Court.
7         •    On March 24, 2015, the district court issued the attorney’s fee award to
8              Giganews. Mere hours after the award issued, Mr. Zada created and
9              modified “repayment” certificates that falsely showed Perfect 10 as
10             having repaid “loans” in the amounts Plaintiffs now allege Defendants
11             fraudulently transferred. Those notes include the $850,000 transfer as
12             well as all other transfers from Perfect 10 to Mr. Zada since January
13             2014.
14        •    On March 24, 2015, Mr. Zada drafted corporate minutes purporting to
15             document the transfer of some of Perfect 10’s physical assets to himself
16             for $20,000. A week later, on April 1, 2015, he did the same for all
17             Perfect 10’s remaining physical assets, ostensibly reflecting a transfer of
18             them to himself for $50,000.
19        •    Mr. Zada admitted that he caused Perfect 10 to make these transfers of
20             Perfect 10’s physical assets because “it would have been totally
21             disruptive to have those [assets] seized” in satisfaction of the judgment.
22             Mr. Zada admitted that he needed to “save” the Perfect 10 business
23             from “the judgment.” The minutes themselves also state that Zada made
24             the transfer “in light of the recent attorneys [sic] fees award, to avoid
25             complete disruption” of Perfect 10’s legal business.
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1         •    Perfect 10’s records show Zada’s transfer of $70,000 as additional paid-
2              in capital, not as revenue from an asset sale.
3         •    The physical assets Mr. Zada purported to buy remained on Perfect 10’s
4              books, and Perfect 10 reported a depreciation expense for them on its
5              federal taxes for 2015, 2016, and 2017.
6         •    The assets Mr. Zada claimed to have purchased included a Lexus
7              automobile, 4000 back issues of the Perfect 10 magazine, computers,
8              office equipment, and furniture. The value of the magazines standing
9              alone was between $46,000 and $120,000. The Lexus was worth around
10             $30,000. Perfect 10’s tax returns show that the original value of its
11             office furniture and equipment was $555,464, and their value at the time
12             of transfer was approximately $55,000.
13        •    Mr. Zada did not know what assets he was purchasing; the Perfect 10
14             board minutes include a Lexus that Mr. Zada now claims he had owned
15             all along, showing that he recognized no practical distinction between
16             Perfect 10’s assets and his own assets. Also, the Norfield Court address
17             contains additional personal property that Zada failed to identify in the
18             list of asset transfers the Court ordered Defendants to provide.
19        •    On March 26 and 27, 2015, while Giganews and Livewire’s sanctions
20             motion was pending, Zada also contributed an additional $454,002.05 to
21             Perfect 10. Perfect 10 immediately forwarded that exact amount to its
22             lawyers for the potential sanctions award that was hanging over them
23             personally. The Court later decided that sanctions were moot because of
24             the attorney’s fees award. The lawyers then transferred about $436,000
25             back to Perfect 10. Shortly thereafter, Perfect 10 immediately returned
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1              the full $454,002.05 to Zada, all while a live judgment was pending
2              against the company.
3         •    On April 4, 2015, with the mortgage closing imminent, Mr. Zada
4              offered to settle the underlying case on April 4, 2015 for $2 million in
5              cash plus a $3.819 million deed of trust on the mansion.
6         •    Zada represented to the Court that he did not have sufficient cash to pay
7              the judgment. But on April 21, 2015, he closed the mortgage to take out
8              $3.5 million of equity in the mansion.
9         •    Melanie Poblete contacted Perfect 10’s accountant to discuss “how we
10             pay things” in light of the “$5M judgment” against Perfect 10.
11        •    During his judgment debtor’s examination on January 28, 2016, Zada
12             confessed that he caused the transfer of $850,000 from Perfect 10 to his
13             personal bank account due to “the summary judgment orders.”
14             “Q: There’s a withdrawal on November 20, 2014. It’s an online banking
15                     transfer CHK 0277 in the amount of $850,000. Do you see that?
16             A:      Yes.
17             Q:      Is that to your personal account?
18             A:      Yes.
19             Q:      Do you share that account with anyone else?
20             A:      No.
21             Q:      That’s a personal account you have at Bank of America?
22             A:      Correct.
23             Q:      At the same branch as your Perfect 10 account?
24             A:      I think it’s the same branch.
25             Q:      What did that – what prompted that transfer of $850,000?
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1              A:      Well, I had been – you know, we had gotten a significant amount
2                      of settlements in 2014. We had a settlement of $1.1 million in, I
3                      believe, June. I was entitled to that money. And after the
4                      summary judgment orders were issued, I did not see any point in
5                      keeping more cash than we needed in the account.”
6         •    On July 16, 2015, Melanie Poblete sent an email, copying Mr. Zada,
7              inquiring about paying Perfect 10’s bills because “Perfect 10 has a $5M
8              judgement [sic] against it now and so we probably need to reallocate
9              how we pay things.”
10        •    In her debtor’s examination, Ms. Poblete admitted that “Norm[an Zada]
11             was worried that Perfect 10 shouldn’t be paying anything because there
12             was a judgment against it and any money that came in should be given
13             over. So he didn’t want to be improper and pay something out of the
14             Perfect 10 account that would have been entitled to—you know, as a
15             judgment payment.”
16        Claim 2 (Constructive Fraudulent Transfer):
17        •    Perfect 10 classified the $70,000 “payment” for its remaining physical
18             assets as an additional equity investment by Zada, not as proceeds from
19             a sale of the assets.
20        •    The assets Mr. Zada claimed to have purchased included a Lexus
21             automobile, 4000 back issues of the Perfect 10 magazine, computers,
22             office equipment, and furniture. The value of the magazines standing
23             alone was between $46,000 and $120,000. The Lexus was worth around
24             $30,000. Perfect 10’s tax returns show that the original value of its
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1              office furniture and equipment was $555,464, and their value at the time
2              of transfer was approximately $55,000.
3         •    Perfect 10 paid no payroll taxes on the amounts it transferred to Zada in
4              2014 and 2015.
5         •     Transfers of cash from Perfect 10 to Mr. Zada were irregular and do not
6              resemble a typical salary; and Zada used some portion of the transferred
7              funds to pay Perfect 10’s expenses.
8         •    Years of Perfect 10 accounting records and tax filings show that Zada
9              held an equity investment in Perfect 10.
10        •    Zada and Perfect 10 have represented to the Court that as of the April 4,
11             2015 settlement offer to Giganews and Livewire: “Dr. Zada and Perfect
12             10 did not have the funds to pay the full amount [of the judgment] in
13             cash,” and “Dr. Zada and Perfect 10 did the best they could do given the
14             limited amount of cash they had available.”
15        •    The transfers out of Perfect 10’s accounts left the company unable to
16             pay operating costs and legal fees, debts that Zada paid personally.
17        •    The 2015 asset transfer and transfer of $454,000 both occurred after the
18             Court had entered a $5.6 million judgment against Perfect 10.
19        •    After the transfers to Mr. Zada in 2014 and 2015, Perfect 10 had to lay
20             off its employees, including its paralegal and bookkeeper Melanie
21             Poblete (who continued to be Zada’s close personal assistant and
22             housemate), stop work by its accountant, definitively cease photoshoots
23             and film purchases, and dismiss other pending litigation.
24        •    Perfect 10 also could not pay its legal fees in the litigation against
25             Giganews: Zada paid them personally out of his own accounts.
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1         •     Perfect 10 had four pending U.S. cases in 2014, all of which carried a
2               risk of a fee award. It lost at every stage of its lawsuit against Giganews.
3               Starting in 2014, it suffered adverse court orders nearly every month,
4               and Giganews requested a substantial sanctions award in August 2014.
5         •     Perfect 10 has filed over 20 copyright litigation lawsuits.
6         •     The Copyright Act allows a court to award attorneys’ fees to a
7               defendant prevailing party, creating the chance of an award against the
8               plaintiff in any copyright litigation.
9         Claim 3 (Conveyance Without Delivery):
10        •     Ms. Poblete admitted that the only change to the Perfect 10 offices after
11              Zada purportedly purchased Perfect 10’s physical assets is that she “set
12              up a sowing [sic] desk in that room for me to do my personal sowing
13              [sic].”
14        •     Ms. Poblete admitted that she still has access to a computer that she
15              used before July 5, 2015, for her work at Perfect 10.
16        •     Ms. Poblete also admitted that “nothing” had changed at Perfect 10’s
17              office after Perfect 10 transferred substantially all of its physical assets
18              to Zada.
19        •     The office furniture and computers remain in the same room as when
20              Perfect 10 owned them, and Perfect 10 still uses them for its business.
21        •     Perfect 10 continued for years to claim depreciation on its taxes for assets
22              it purportedly transferred to Zada.
23
24        (d)   The Key Evidence Defendants Rely on for Each Claim
25        Claim 1 (Actual Fraudulent Transfer):
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1         •    Dr. Zada’s testimony that he did not make any transfers with the intent
2              to hinder, delay or defraud any creditors of Perfect 10.
3         •    Dr. Zada’s testimony as to why Perfect 10 sued Giganews and why
4              Perfect 10 expected to win the case, including the exhibits supporting
5              such testimony.
6         •    Dr. Zada’s testimony as to why Perfect 10 did not expect to be ordered
7              to pay a fee award and the exhibits supporting such testimony.
8         •    At least 61,000 copies of Perfect 10 images were stored on Giganews’s
9              servers and offered to Giganews subscribers, to Livewire subscribers,
10             and to other Usenet Operators without Perfect 10’s permission or
11             payment.
12        •    Giganews had copied at least 9,600 unlicensed Perfect 10 images from
13             other Usenet Operators and placed them on Giganews’s servers.
14        •    Giganews charged its subscribers a monthly fee of between $5 and $30
15             a month to access its servers and download selected content, which
16             included 61,000 unlicensed Perfect 10 images.
17        •    Giganews admittedly received hundreds of thousands of notices from
18             movie and recording studios, establishing that it was offering unlicensed
19             movies and songs to its subscribers.
20        •    Giganews had 25,000 trillion bytes of content on its servers with no
21             licenses for any of that content.
22        •    the operators of Megaupload.com had been criminally prosecuted for
23             doing essentially what Giganews does, offering movies and songs to its
24             subscribers without permission from copyright holders.
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1         •    No Usenet Operator had previously won, let alone received attorneys
2              fees.
3         •    Perfect 10 had won a similar case against Usenet Operator GUBA on
4              summary judgment.
5         •    Perfect 10 had successfully prosecuted at least ten similar cases against
6              paysites that had offered unlicensed copies of Perfect 10 content to their
7              subscribers without Perfect 10’s permission.
8         •    the Supreme Court had twice found direct infringement liability under
9              facts and circumstances similar to those in the Related Case (see Aereo
10             and Tasini)
11        •    Other Usenet Operators processed notices that Giganews refused to
12             process.
13        •    Giganews processed a number of Perfect 10 DMCA notices but waited
14             almost 75 days to do so.
15        •    The Ninth Circuit found that Giganews owned a few servers (Ruling p.
16             3) and made temporary copies (Ruling p. 8), suggesting that it had been
17             misled by Giganews or otherwise did not understand Giganews’s
18             operation.
19        •    The Ninth Circuit made other findings showing that it had not read
20             Perfect 10’s briefs.
21        •    Perfect 10 had never been sanctioned or ordered to pay attorneys fees.
22        •    no business that commercially exploited copyrighted works without
23             permission had ever been awarded fees.
24        •    no fee award against a copyright holder had previously exceeded that
25             copyright holder’s yearly sales.
                                            19
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1         •      Dr. Zada is a member of the Copyright Society and had frequent
2                discussions with recording and movie studio attorneys and knew that
3                they largely agreed with his views.
4             • Dr. Zada and Perfect 10 offered to satisfy the award by paying million
5                $5.819 million - $4 milliom more than the transferred $1.75 million.
6         •      Inconsistencies between the testimony of Giganews’s deponents and
7                their declarations, which show that Giganews won the Related Case at
8                least in part by substantially misleading the Court
9         •      Amicus briefs filed by the RIAA, MPAA, and DOJ after the District
10               Court’s ruling that contain largely the same arguments made by Perfect
11               10 before the District Court.
12        •      42 persons associated with Usenet Operators were arrested in 2016 and
13               2017 for offering copyrighted works without payment to copyright
14               holders, which is essentially what Giganews does.
15        •      Jason Gull, a senior counsel for the Department of Justice, contacted Dr.
16               Zada on July 23, 2018, and spoke to him for at least 90 minutes while
17               other DOJ staff listened in. Mr. Gull asked Dr. Zada to provide Mr.
18               Gull with whatever evidence Dr. Zada had that would assist the justice
19               department in filing criminal charges against Giganews.
20        •      Dr. Zada’s testimony in all of his depositions from 2014 onward, as well
21               as his declarations and his upcoming testimony at trial; and the exhibits
22               and testimony listed on Defendants’ exhibit and witness lists.
23        Claim 2 (Constructive Fraudulent Transfer):
24        •      The $1.75 million that Dr. Zada paid himself in 2014 was a tiny fraction
25               of the money that he had lent to Perfect 10 over the years. Perfect 10
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1              received equivalent value for the $1.75 million that was transferred to
2              Dr. Zada because it was simply returning the same money that had been
3              previously provided to it by Dr. Zada. Perfect 10 also received
4              equivalent value because that money could be viewed as partial
5              payment to Dr. Zada for his 18 years of unpaid efforts on behalf of
6              Perfect 10, and for his recent efforts in obtaining $4 million in
7              settlements. In addition, Dr. Zada was entitled to receive the $1.75
8              million because Perfect 10 was an S-Corporation.       In addition, with
9              respect to the $850,000 transfer, Dr. Zada put more than 50% of that
10             money back into the Perfect 10 bank account and paid additional Perfect
11             10 expenses from his personal account, to ultimately provide Perfect 10
12             with more than the $850,000 that was transferred.
13        •    Perfect 10 had paid all of its bills over an 18 year period.
14        •    Dr. Zada had managed to substantially reduce Perfect 10’s expenses to
15             the point where it had actually made money in 2013 and 2014.
16        •    The Ninth Circuit had many of the disputed transfers before it and found
17             that Dr. Zada did not transfer money from Perfect 10 in bad faith or
18             strip its assets.
19        •    The testimony of Perfect 10’s accountant, Bruce Hersh, and
20             Defendants’ expert, John Cooper, supports Defendants’ contention that
21             Perfect 10 received reasonably equivalent value for the assets it
22             transferred to Dr. Zada. Stated simply, when Dr. Zada provided Perfect
23             10 with $1.75 million, and then Perfect 10 provided that $1.75 million
24             back to Dr. Zada, both sides received equivalent value.
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1         •    Defendants’ will also rely on Perfect 10’s bank statements, which show
2              that when each of the earlier transfers totaling $900,000 were made,
3              Perfect 10’s bank account was left with at least $1 million, which was
4              substantially more than Perfect 10’s historical bank balance of around
5              $380,000. In addition, Perfect 10 had all of its copyrights and
6              trademarks, which would cost at least $11.5 million to recreate.
7         •    Dr. Zada and Perfect 10 offered the $1.75 million that had been
8              transferred as part of an offer of full payment. Thus the reason the
9              $5.63 million was not paid had nothing to do with the $1.75 million in
10             transfers. It was because Dr. Zada’s financial situation had substantially
11             deteriorated, and he and Perfect 10 together didn’t have enough cash
12             and had to offer part of the payment in the form of a first trust deed on
13             Dr. Zada’s home, and because Plaintiffs refused that full priced offer.
14        •    The exhibits and testimony listed on Defendants’ exhibit and witness
15             lists.
16        Claim 3 (Conveyance Without Delivery):
17        •    Dr. Zada has produced bank records which show that when he paid
18             Perfect 10 $30,000 for the Lexus, he actually owned it already. (See
19             Defendant’s Motion for Summary Judgment, Statement of Undisputed
20             Facts (“SOF”) ¶¶ 5-6. The remaining Perfect 10 physical assets, 4,000
21             Perfect 10 back issues (which were previously sold for ten cents a copy
22             in bulk), a few computers, printers, and a fifteen year old couch, desk,
23             scanner, and a few beds, were worth at most $11,900. (SOF ¶¶ 12, 173)
24             Plaintiffs cannot establish fraud because the amount paid was more than
25             five times the value of the assets.
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 1         •        The exhibits and testimony listed on Defendants’ exhibit and witness
 2                  lists.
 3         Defendants’ Affirmative Defenses:
 4         (a)      Defendants plan to assert the following affirmative defenses:
 5         Defense 1: Failure to mitigate damages.
 6         (b)      The elements required to establish Defendant’s affirmative defenses are:
 7         Defense 1 (Failure to Mitigate): (1) Plaintiffs failed to use reasonable efforts
 8 to mitigate damages; and (2) the amount by which damages would have been
 9 mitigated.3
10         Defendants’ Evidence In Support of This Claim
11               • Defendants offered Plaintiffs the full amount of the judgment soon after
12                  Plaintiffs were granted the fee award; Plaintiffs refused to accept it.
13               • Plaintiffs waited months to enforce their judgment, waiting until long
14                  after Perfect 10 had exhausted its cash resources paying for ordinary
15                  expenses.
16 8.      REMAINING TRIABLE ISSUES
17         All of the claims and defenses identified above remain to be tried. Giganews
18 and Livewire also seek punitive damages and intend to seek attorneys’ fees for
19 amounts spent litigating this dispute.4 Should there be a defense verdict, Defendants
20 will seek their attorney’s fees.
21
     3
22   Plaintiffs contend that failure to mitigate is not a defense to fraudulent transfer
   claims. Plaintiffs are not aware of any case or other authority that has applied the
23 defense to claims under California Civil Code Section 3439.04. Plaintiffs object to
   any instruction to the jury regarding this defense.
24 4 Attorneys’ fees incurred in enforcing a creditor’s suit judgment are included as
   “reasonable necessary costs” where the underlying judgment provides for an award
25 of attorneys’ fees, as the judgment does in the underlying case. See Cal. Code Civ.
                                                23
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 1 9.      DISCOVERY
 2         Plaintiffs assert that Defendants have not complied with all of their discovery
 3 obligations; Defendants assert that they have so complied.5
 4 10.     DISCLOSURES AND EXHIBIT LIST
 5         All disclosures under Fed. R. Civ. P. 26(a)(3) have been made.
 6         The joint exhibit list of the parties has been filed under separate cover as
 7 required by L.R. 16-6.1 (“Joint Exhibit List”). In view of the volume of exhibits
 8 marked by each party, the parties have incorporated in the attached “Joint Exhibit
 9 List” all agreements regarding admitted exhibits, and all objections, including the
10 grounds therefor.
11 11.     WITNESS LISTS
12         The parties have already filed witness lists.
13         Only the witnesses identified on the lists will be permitted to testify (other
14 than solely for impeachment).
15 12.     MOTIONS IN LIMINE
16         The parties have already filed Motions in Limine. The parties have met and
17 conferred on the motions in limine. The following motions in limine, and no others,
18 are pending or contemplated:
19 ///
20 ///
21
22 Proc. §§ 685.040, 685.070; Related Case Dkt. 628 (allowing fees under
   15 U.S.C. § 1117, 17 U.S.C. § 50, and Cal. Civ. Code. § 3344).
23 5
     Defendants would not agree to specify the outstanding discovery disputes in this
24 document.    In the interest of complying with the Court’s request for a joint filing,
   Plaintiffs have agreed to Defendants’ proposed language. Plaintiffs will file a
25 supplement regarding discovery.
                                              24
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1         Plaintiffs’ Motions in Limine
2         1.    Plaintiffs’ Motion in Limine No. 1 to exclude the putative expert
3               testimony of Douglas Lichtman;
4         2.    Plaintiffs’ Motion in Limine No. 2 to exclude expert opinion testimony
5               from Robert C. Lind;
6         3.    Plaintiffs’ Motion in Limine No. 3 to exclude evidence relating to
7               settlement and mediation communications;
8         4.    Plaintiffs’ Motion in Limine No. 4 to exclude improper behavior,
9               testimony, and argument of Norman Zada;
10        5.    Plaintiffs’ Motion in Limine No. 5 to exclude in part expert testimony
11              from John R. Cooper;
12        6.    Plaintiffs’ Motion in Limine No. 6 to exclude evidence relating to
13              Professor Douglas Tygar;
14        7.    Plaintiffs’ Motion in Limine No. 7 to exclude inflammatory topics the
15              Court has already deemed irrelevant;
16        8.    Plaintiffs’ Motion in Limine No. 8 to exclude evidence and argument
17              aiming to relitigate the underlying copyright case; and
18        9.    Plaintiffs’ Motion in Limine No. 9 to exclude reference to Zada’s
19              subjective belief in the likelihood of success of Perfect 10’s copyright
20              case.
21        Defendants’ Motions in Limine
22        1.    Defendants’ Motion in Limine No. 1 to exclude testimony of Steven
23              Boyles;
24        2.    Defendants’ Motion in Limine No. 2 to exclude testimony of Mark
25              Eskridge;
                                             25
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 1         3.    Defendants’ Motion in Limine No. 3 to exclude irrelevant and
 2               inflammatory exhibits;
 3         4.    Defendants’ Motion in Limine No. 4 to exclude evidence and
 4               documents related to vacated and denied sanctions order;
 5         5.    Defendants’ Motion in Limine No. 5 to exclude testimony of Plaintiffs’
 6               re chances of likelihood of prevailing;
 7         6.    Defendants’ Motion in Limine No. 6 to exclude evidence of Dr. Zada’s
 8               wealth and strike punitive damages claims;
 9         7.    Defendants’ Motion in Limine No. 7 to exclude video testimony and/or
10               live witness testimony; and
11         8.    Defendants’ Motion in Limine No. 8 to exclude selected portions of fee
12               order.
13 13.     BIFURCATION
14         Defendants’ Position:
15         To the extent Plaintiffs are allowed to continue with their punitive damages
16 claims, Defendants request that this issue be bifurcated, and that the jury determine
17 liability before it is provided with any additional evidence related to punitive
18 damages. As discussed in Defendants’ Motion in Limine No. 6 regarding
19 Defendants’ wealth, the vast majority, if not all, of the documents that Plaintiffs seek
20 to introduce regarding Dr. Zada’s wealth are irrelevant and violative of his
21 privacy. As such, in the context of this case, it makes sense to bifurcate the issues of
22 liability and punitive damages in order to prevent prejudice to Dr. Zada in the
23 liability phase of trial by placing undue and irrelevant focus on his wealth. If the
24 Court grants Motion in Limine No. 6, it should also provide for bifurcation.
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 1         Plaintiffs’ Position:
 2         Defendants’ request to bifurcate is untimely. Defendants have been aware of
 3 Plaintiffs’ claim for punitive damages since Plaintiffs filed the Complaint on July 10,
 4 2017 (Dkt. 1), and have never previously raised the issue of bifurcation. A motion
 5 under Rule 42(b) should be fully noticed, not included as an aside in a final pretrial
 6 conference order. See, e.g., Hirst v. Gertzen, 676 F.2d 1252, 1261 (9th Cir.
 7 1982)(describing factors); see also The Rutter Group Prac. Guide Fed. Civ. Trials &
 8 Evid Ch. 4-G A § 4:488 (2019).
 9         Bifurcation is also unnecessary and would waste judicial and party resources.
10 “Bifurcation is the exception rather than the rule.” Baker v. Colonial Life & Acc. Ins.
11 Co., No. C14-0319JLR, 2014 WL 3850848, at *2 (W.D. Wash. Aug. 5, 2014) (citing
12 Hangarter v. Provident Life and Acc. Ins. Co., 373 F.3d 998, 1021 (9th Cir. 2004)
13 (citation omitted)). “[T]he normal procedure is to try compensatory and punitive
14 damage claims together with appropriate instructions to make clear to the jury the
15 difference in the clear and convincing evidence required for the award of punitive
16 damages.” Willard v. Foremost Ins. Co., No. EDCV 13-0262 JGB (DTBx), 2014
17 WL 12589331, at *3 (C.D. Cal. May 9, 2014) (citing Hangarter, 373 F.3d at 1021)).
18         The party seeking bifurcation “has the burden of proving that bifurcation is
19 justified given the facts in [the] case.” Spectra-Physics Lasers, Inc. v. Uniphase
20 Corp., 144 F.R.D. 99, 102 (N.D. Cal. 1992). Here, Defendants have offered no
21 reason to deviate from normal practice. A second trial on punitive damages would
22 consider substantially the same evidence and be a wasteful exercise. See, e.g., Datel
23 Holdings LTD. v. Microsoft Corp., No. C-09-05535 EDL, 2010 WL 3910344, at *2-
24 5 (N.D. Cal. Oct. 4, 2010).
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1 14.     ADMISSIONS
2         The parties have made the foregoing admissions, and the parties having
3 specified the foregoing issues remaining to be litigated, this Final Pre-Trial Order
4 shall supersede the pleadings, and govern the course of the trial of this cause, unless
5 modified to prevent manifest injustice.
6
7 DATED: March 06, 2019
                                    _____________________________________
8
                                    HONORABLE ANDRÉ BIROTTE JR.
9                                   UNITED STATES DISTRICT COURT JUDGE
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